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                    iN THE UNTTED STATES DISTRICT COURT

                  FOR THE SOUTHERN DISTRICT OF GEORGIA

                                AUGUSTA DIVISION

UNITED STATES OF AMERICA

                                                 CR 108-168

CHRISTOPHER GIOVANI MECADO



                                      ORDER


       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

the Report and Recommendation of the Magistrate Judge is ADOPTED as the opinion of

the Court. Therefore, Defendant's motion to suppress is DENIED.
                         is]-
       SO ORDERED thi,2/_1ãy of April, 2009, at Augusta, Georgia.




                                                     AL HALt
                                                     STATES DISTRICT JUDGE
